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                    IN THE UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW MEXICO


  PHILADELPHIA INDEMNITY                             Case No.:
  INSURANCE COMPANY, a Pennsylvania
  corporation,

                Plaintiff,

  vs.

  DESERT UTILITY & PAVING, LLC, a New
  Mexico limited liability company;
  CENTURY CLUB CONSTRUCTION, LLC,
  a New Mexico limited liability company;
  JWEB CONSTRUCTION, LLC, a New
  Mexico limited liability company; JEFFREY
  S. WEBSTER, an individual; BENNIE A.
  CRUZ, an individual,

                Defendants.


                                     COMPLAINT


        For its complaint against defendants, and each of them, (collectively

“Defendants”) Plaintiff Philadelphia Indemnity Insurance Company (“Philadelphia

Indemnity”) alleges as follows:

                              JURISDICTION AND VENUE

        1.    This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1332(a)(l)-(a)(2) as there is complete diversity of citizenship between the

parties (Philadelphia Indemnity is a citizen of Pennsylvania and Defendants are all

citizens of New Mexico) and the matter in controversy exceeds the sum of $75,000,

exclusive of interest and costs.
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      2.       Venue is proper in this District pursuant to 28 U.S. C. § 1391(b)(1), (2)

because a substantial part of the events and omissions giving rise to the claim occurred

in New Mexico and the defendants are all residents of New Mexico.

                                        PARTIES

      3.       Philadelphia Indemnity is a Pennsylvania corporation with its principal

place of business at One Bala Plaza, Suite 100, Bala Cynwyd, PA 19004 and is therefore

a citizen of Pennsylvania.

      4.       Defendants Desert Utility Paving, LLC (“Desert Utility”), Century Club

Construction, LLC (“Century Club”), and Jweb Construction, LLC (collectively,

“Defendant LLCs”) are all New Mexico limited liability companies, each having its

principal place of business in New Mexico and whose members are all citizens of New

Mexico.

      5.       Defendant Jeffrey S. Webster is a citizen of New Mexico.

      6.       Defendant Bennie A. Cruz is a citizen of New Mexico.

                                NATURE OF THE CASE

      7.       To obtain surety bonds required for construction projects, on or about

October 21, 2016, defendants, and each of them, executed a General Indemnity

Agreement (“GIA”) in favor of Philadelphia Indemnity. A true and correct copy of the

GIA is attached as Exhibit “A.”

      8.       Under paragraph 3 of the GIA, Defendants covenanted and agreed

          to indemnify and hold harmless Surety from and against any Loss
          sustained or incurred: (a) by reason of having executed or being
          requested to execute any and all Bonds; (b) by failure of Indemnitors or
          Principals to perform or comply with any of the covenants or conditions
          of this Agreement or any other agreement; and (c) in enforcing any of
          the covenants or conditions of this Agreement or any other agreement.
          The Indemnitorsʹ obligation to indemnify the Surety shall also apply
          to any Bond renewals, continuations or substitutes therefore.


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      9.     “Default” is defined in the GIA as

       Any instance or condition where Principal or Indemnitors: (ii) forfeit,
       breach, abandon, repudiate, default or be declared in default on any
       Bonded Contract; (iii) neglect or refuse to pay for any indebtedness for
       labor, materials, or services used in the prosecution of a Bonded
       Contract, (iv) fail to honor any obligation under this Agreement; . . . (vi)
       have any proceeding instituted against any of them that may have the
       effect of depriving any of them of the use of any part of the materials or
       equipment used in connection with the work under a Bonded Contract
       so as to hinder, delay or impede the normal and satisfactory progress
       of the work; (vii) with respect to any Indemnitors which are not
       individuals, dissolve or cease to continue their legal existence; . . . or (ix)
       violate any other written agreement with Surety.
      10.    “Loss” is defined in the GIA as

       Any and all liability, losses, costs, expenses, and fees of whatever kind
       or nature that Surety may sustain or incur as a result of executing any
       Bond, or as a result of the failure of Principal or Indemnitors to
       perform or comply with this Agreement. Loss includes but is not
       limited to: (i) sums posted by Surety as a reserve for the payment of
       potential losses and/or expenses; (ii) all costs and expenses incurred in
       connection with investigating, paying or litigating any claim, and/or
       enforcing this Agreement, including but not limited to legal fees and
       expenses, professional and consulting fees, technical and expert
       witness fees and expenses; . . . and (v) all other amounts payable to
       Surety according to the terms and conditions of this Agreement or any
       other agreement between Surety and Principal or Indemnitors.
      11.    In the event of any loss or potential loss or claim, defendants agreed at

Paragraph 4 of the GIA

       to deposit immediately upon demand by Surety an amount equal to
       the greater of: (a) the amount of any reserve established by Surety in its
       sole discretion to cover any actual or potential liability for any Loss or
       potential Loss for which Indemnitors would be obliged to indemnify
       Surety hereunder; or (b) the amount of any Loss or potential Loss
       (including legal, professional, consulting, and expert fees and expenses)
       in relation to any claim or claims or other liabilities asserted against
       Surety as a result of issuing any Bond, as determined by the Surety in
       its sole discretion.
      12.    As to the deposit of collateral under Paragraph 4 of the GIA, defendants
further agreed that

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        Principals and Indemnitors shall be obligated to deposit the amount of
        collateral demanded by Surety regardless of whether they dispute their
        liability for any Loss or potential Loss or assert any defenses to the validity
        or enforcement of this Agreement.
        13.    Defendants also agreed at Paragraph 12 of the GIA that, at any and all

times

        Surety, including its designated agents, shall . . . have unrestricted access
        upon reasonable notice to review all books and records of Principals and
        Indemnitors, including all books and records pertaining to their financial
        condition, and to the status of each unbonded and Bonded Contract.
        Principals and Indemnitors agree to provide updated financial statements
        upon the Surety's request. Principals and Indemnitors hereby authorize
        those with whom such Bonded Contracts are made to furnish to Surety all
        information concerning such contracts and the work thereunder.

        Principals and Indemnitors also hereby authorize any bank, financial or
        lending institution, or depository to provide Surety with access to any bank
        statements or financial records or any other information or documents
        requested by Surety. Principals and Indemnitors acknowledge that their
        duty to provide access to books and records under this Paragraph is
        specifically enforceable because Surety lacks an adequate remedy at law
        and their failure to provide access with Surety as required by this
        Paragraph will cause irreparable harm to as to justify injunctive relief
        compelling such access be provided.
        14.    Defendants further covenanted at Paragraph 21 of the GIA that any and

all funds from bonded projects would be held in trust for the benefit of Philadelphia

Indemnity:

        Principals and Indemnitors agree and expressly declare that all funds due
        or to become due under any Bonded Contract are impressed with an
        express, constructive, and/or resulting trust, whether in the possession of
        Principals or another and whether designated trust funds or not, for the
        benefit and payment of all persons to whom Principals incur obligations in
        the performance of such contract for which Surety would be liable under
        any Bond, which express, constructive, and/or resulting trust also inures to
        Surety's benefit. This trust fund provision is enforceable under the law of
        any state in which (a) the Bonded Contract is being performed, (b) any
        Principal or Indemnitor is domiciled or doing business, or (3) sufficient
        minimum contacts exist with the Principal or Indemnitor so as to justify the
        exercise of personal jurisdiction over the Principal relative to the Bonded
        Contract. All funds due or to become due under any Bonded Contract,
        which constitute trust funds, shall be used for the sole purpose of
        performance or payment of obligations under the Bonded Contract for
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       which Surety would be liable under its Bond(s), until that purpose has been
       fully satisfied. If Surety discharges any such obligation, it shall be entitled
       to assert the claim of such person to the trust funds, in addition to Surety's
       rights as trust beneficiary of the trust funds.
       15.    In the event any claim is asserted against Plaintiff on any bond issued by

it on behalf of any defendant, defendants agreed

       Surety shall have the exclusive right, in its sole discretion, to decide and
       determine whether any claim, liability, suit or judgment made or brought
       against Surety on any Bond shall or shall not be paid, compromised,
       resisted, defended, tried or appealed, on the basis of Surety’s belief that it
       is or could be liable or because the Surety deems it necessary or expedient
       to do so, and Surety’s decision thereon shall be final and binding upon the
       Indemnitors. Surety shall be entitled to indemnity for any and all
       disbursements made in good faith related to any such claim, liability, suit,
       or judgment, which term ʺgood faithʺ shall be defined to encompass all
       disbursements made by Surety except those made with deliberate and
       willful malfeasance. . . . .
       16.    In the event of a “Default,” Defendants agreed at Paragraph 7 of the GIA,

that Surety, in its sole discretion, shall have the right, but not the obligation, to:

       (i) take possession of the work under any and all Bonded Contracts, and
       complete or consent to the completion of such Bonded Contracts at the
       expense of the Indemnitors; (ii) take possession of Principal and
       Indemnitorsʹ equipment, materials and supplies whether at the worksite
       or elsewhere reasonably necessary for the completion of the Bonded
       Contracts; (iii) file suit to enforce any or all provisions of this Agreement;
       or (iv) without limitation, Surety shall be entitled to take any other action
       as the Surety, in its sole discretion, deems necessary to fulfill its
       obligations under any Bond.
       17.    In strict and express reliance on these terms of the GIA and the promises

and covenants of Defendants therein, and at their express request, Philadelphia

Indemnity issued contract bonds for various projects and obligees in the State of New

Mexico and elsewhere to enable Defendant Desert Utility and, in one instance, Defendant

Century Club (Bond No. PB03228301847, Albuquerque Bernalillo County Water

Authority, as obligee) to be awarded contracts and subcontracts for construction projects
(collectively, ʺthe Bondsʺ) as follows:


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 Bond No.           Obligee              Project Name        Effective        Penal Sum
                                                             Date
 PB03228301728      Santo Domingo        Trail               10/21/2016        $1,294,187
                    Pueblo               Reconstruction
 PB03022830176      North I 25 Corp.     Northpoint          11/9/2016           $918,727
                    Center, LLC          Work Order
 PB03228301788      Div. of Eng.         Gabriela Good       12/9/2016            $40,981
                    Services             Pueblo of Sandia
 PB03228301792      Pulte Homes          Stormcloud          12/21/2016        $1,095,934
 PB03228301835      Village of Bosque    Jackson Acquia      2/17/2017            $61,970
                    Farms                Crossing
 PB03228301836      City of              Municipal           2/22/2017         $1,448,341
                    Farmington           Utilities
 PB03228301847      Albuquerque          4th Street          3/1/2017            $496,756
                    Bernalillo Co.       Replacement
 PB03228301892      ESA Constr., Inc.    NMSU                4/17/2017           $434,500
 PB03228301901      Gardner-Zemke        Metal Building      4/24/2017           $934,350
 PB03228301938      Pueblo of Zuni       Scattered           6/5/2017            $708,791
                                         Housing
 PB03228301950      San Juan County      CR350/CR950         6/23/2017           $833,181
 PB03228301955      Ute Mountain         Towaoc Water        7/6/2017          $2,892,186
                    Ute Tribe            Improvement
                                         (Colorado)
                                                                   TOTAL      $11,159,904
      18.    The Bonds guaranteed Defendant Desert Utility’s and Century Club’s

completion of the contracts and/or subcontracts and their payments to subcontractors

and suppliers who provided goods and services on the bonded contracts and
subcontracts detailed above. Philadelphia Indemnity’s exposure on the Bonds as issued

was in excess of $11,159,904.

      19.    Philadelphia Indemnity has received claims on a number of the bonds

from subcontractors and suppliers of the Defendant LLCs. Philadelphia Indemnity has

had to pay one such claimant, Armour Pavement, the amount of $95,163.60 on Bond No.

PB03228301792.

      20.    Additionally, two obligees, ESA Construction, Inc. and Pulte Homes have
alleged the failure of Desert Paving to perform its obligations on the respective bonded

contracts for those obligees. By letter dated December 6, 2017, ESA Construction has

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terminated Desert Utility and made demand on Philadelphia Indemnity under its

performance Bond, Bond No. PB03228301892. Philadelphia Indemnity does not know

what amount of work has been completed, what amounts ESA Construction holds, and

does not know, ultimately, what the amount of damages it will be responsible for under

the performance bond.

       21.     A third obligee, Gardner-Zemke, has questioned the ability of Desert Paving

to complete that bonded contract given Desert Paving has informed Gardner-Zemke it will

be unable to return to the site.    Liquidated damages will accrue for any delay and

Philadelphia Indemnity will be required to answer in damages in an unknown amount

under its performance bond, Bond No. PB03228301901.

       22.     A fourth obligee, Santo Domingo Pueblo, has informed Philadelphia

Indemnity that the completion date for its project has passed, the work is not complete, and

liquidated damages are accruing. Philadelphia Indemnity will be required to answer in

damages in an unknown amount under its performance bond, Bond No. PB03228301728.

       23.     Another obligee, City of Farmington, has informed Philadelphia Indemnity

that Desert Utility has pulled off the bonded project to perform work on the municipal

utilities. Philadelphia Indemnity will be required to answer in damages in an unknown

amount under its performance bond, Bond No. PB03228301836.

       24.     In discussions with Defendants, Defendants Webster and Cruz have admitted

that Desert Paving and Century Club have stopped working on all projects except for the

Ute Mountain Ute Tribe project (Bond No. PB03228301955; Towaoc Water Improvement).

       25.     By letter dated December 2, 2017, Philadelphia Indemnity made demand

under the terms of the GIA, specifically, Paragraph 4, to deposit funds with Philadelphia

Indemnity in the amount of $850,000 as collateral by December 4, 2017 and provided wire

transfer information. A true and correct copy of the Dec. 2, 2017 demand is attached as

Exhibit “B.”
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       26.    In breach of their obligations under the GIA, Defendants failed to comply

with the demand for collateral.

       27.    In conjunction with the demand for collateral under Paragraph 4 of the GIA,

Philadelphia Indemnity also made demand under Paragraph 12 for access to Defendant

LLCs’ books and records to determine the extent of the default, the status of each bonded

contract, the bonded contract funds held by the obligees, and the amounts payable to

potential payment bond claimants, all in an effort to assess the potential loss and to

minimize the Loss to Philadelphia Indemnity.

       28.    In further breach of their obligations under the GIA, Defendants have

refused Philadelphia Indemnity access to the pertinent books and records of the

Defendant LLCs.

       29.    In addition, Defendants agreed under the terms of the GIA to hold all

funds due or to become due under any bonded contract as trust funds to be used for the

sole purpose of performance or payment of obligations under the bonded contracts for

which Philadelphia Indemnity would be liable under the Bonds, until that purpose has

been fully satisfied.

       30.    Pulte Homes paid Desert Utility for the work performed by its
subcontractor, Armour Pavement, but Desert Utility has not paid those funds to Armour

Pavement, resulting in the claim against Philadelphia Indemnity by that unpaid

subcontractor which Philadelphia Indemnity was required to pay.

       31.    Pursuant to the express terms of the GIA, Defendants are in Default and

are liable for any Loss incurred by Philadelphia Indemnity.

       32.    Philadelphia Indemnity has incurred, and will incur, attorneysʹ fees and

costs and other expenses in connection with the claims on the bonds and in enforcing
the terms of the GIA, all of which are recoverable under the terms of thereof. The final

amount will be proved at trial in this matter.
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                                       COUNT ONE

                       (Specific Performance – Injunctive Relief)

       33.    Philadelphia Indemnity incorporates by reference Paragraphs 1 through

32 as though set forth fully in this claim for relief.

       34.    Plaintiff issued the Bonds on behalf of Desert Paving and Century

Construction at their request and that of their owners, defendants Jeffrey S. Webster

and Bennie A. Cruz.

       35.    Philadelphia Indemnity has and will incur losses and expenses by virtue

of and as a direct consequence of the issuance of the Bonds.

       36.    Philadelphia Indemnity will be subject to immediate or irreparable harm,

in that the principals on the Bonds may be unable to perform or meet their specific

obligations under the GIA and/or Philadelphia Indemnity will be unable to secure

enforcement of its unconditional rights under the GIA.

       37.    It is plain that, in evaluating the balance of equities, they favor the

unconditional rights of Philadelphia Indemnity under the GIA and the entitlement of

Philadelphia Indemnity to enforce such unconditional rights and to require Defendants

to specifically perform their clear obligations thereunder.

       38.    By the express terms of the GIA, Defendants agreed that there is no

adequate remedy at law and their refusal to grant Philadelphia Indemnity access to the

books and records “will cause irreparable harm to as to justify injunctive relief

compelling such access be provided.”

       39.    Based on the failure of Defendants as alleged, Philadelphia Indemnity is

entitled to injunctive relief in the form of an order compelling Defendants, and each

of them, to specifically perform pursuant to the terms of the GIA by: (1) providing
access to Defendants LLCs’ books and records; (2) depositing collateral with


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Philadelphia Indemnity in an amount sufficient to discharge any anticipated loss; and

(3) to prohibit Defendants from transferring or otherwise secreting their assets until the

collateral is provided and the contract proceeds accounted for.

                                       COUNT TWO

                                    (Breach of Contract)

       40.    Philadelphia Indemnity incorporates by reference Paragraphs 1 through

39 as though set forth fully in this claim for relief.

       41.    Defendants Desert Utility and Century Club have defaulted on their

bonded contracts and have failed to pay their respective subcontractors and suppliers.

       42.    Despite demand, Defendants have failed and refused, and continue to fail

and refuse, pursuant to the terms of the GIA, to deposit the collateral as demanded in

the amount of $850,000 to protect Philadelphia Indemnity from Loss as required by the

GIA.

       43.    Philadelphia Indemnity has performed all of the terms, covenants, and

conditions required on its part to be performed under the terms of the GIA.

       44.    As a direct and proximate result of the breach of the GIA by Defendants,

and each of them, Philadelphia indemnity has incurred, and will continue to incur, losses

and expenses in an amount according to proof, along with attorneys’ fees, expenses

and costs incurred in prosecuting this action.

                                         COUNT THREE

               (Injunctive Relief- Quia Timet Rights against All Indemnitors)

       45.    Philadelphia Indemnity hereby incorporates by reference the allegations

contained in paragraphs 1 through 4 above, as though fully set forth herein.

       46.    Under the equitable doctrine of quia timet, Philadelphia Indemnity is
entitled to have the Indemnitors place funds or other security with Philadelphia

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Indemnity sufficient to cover any and all claims, demands and liability for losses, costs,

and expenses of whatsoever kind or nature, including but not limited to court costs,

counsel fees, costs of investigation, consultant fees, accountant fees, engineer or

construction that Philadelphia Indemnity may sustain or incur by reason or consequence

of having issued Bonds on behalf of Defendants and/or Defendants' default under the

GIA as set forth more fully above.

       47.    The Indemnitors have failed to place Philadelphia Indemnity in such

funds in direct contravention to Philadelphia Indemnity's quia timet rights. Unless

Defendants post the collateral demanded, Philadelphia Indemnity will not be

adequately secured regarding its obligations under the Bond.

       48.    Philadelphia Indemnity is without a plain, speedy, or adequate remedy at

law, pecuniary compensation would not afford adequate relief, it would be extremely

difficult to ascertain the amount of compensation which would afford adequate relief,

and Philadelphia Indemnity will be irreparably and permanently injured unless this

Court grants the injunctive and equitable relief requested herein.

       49.    Philadelphia Indemnity is entitled to preliminary and permanent

injunctive relief enforcing its quia timet rights and granting Philadelphia Indemnity a
freeze on all assets and property in which Defendants have an interest to remain in place

until Philadelphia Indemnity Insurance Company has been placed in funds in the

amount of $850,000.00.

                                     COUNT FOUR

                                   (Declaratory Relief)

       50.    Philadelphia Indemnity incorporates by reference Paragraphs 1 through

49, inclusive, as though fully set forth herein.




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       51.    An actual controversy has arisen and now exists between Philadelphia

Indemnity and Defendants. Philadelphia Indemnity contends that Defendants are

obligated to provide access to the pertinent books and records, that Defendants are

required to deposit collateral in an amount sufficient to discharge any anticipated loss,

and to reimburse Philadelphia Indemnity for amounts incurred and that will be incurred

to satisfy the obligations as surety on the Bonds.

       52.    Philadelphia Indemnity desires a judicial determination of the respective

rights and duties of the parties with respect to the meaning and interpretation of the

GIA. In particular, Philadelphia Indemnity desires a declaration that, under the terms

of the GIA: (1) Defendants are obligated to provide access to their books and records

and (2) to deposit collateral as demanded in an amount sufficient to discharge any

loss or anticipated loss; and (3) to hold all proceeds from bonded contracts in trust for

the benefit of Philadelphia Indemnity.

                                 PRAYER FOR RELIEF

       WHEREFORE, Philadelphia Indemnity Insurance Company prays for relief

against Defendants as follows:

       1.     On Count One, for an order compelling Defendants to perform their

specific obligations under the GIA to provide access to the pertinent books and records,

to deposit collateral as demanded, and to hold all bonded contract proceeds in trust in

favor of Philadelphia Indemnity, and to prohibit Defendants from transferring or

otherwise secreting their assets until the collateral is provided and the bonded contract

proceeds accounted for;

       2.     On Count Two, for judgment against Defendants, jointly and severally, in

the amount of damages incurred by Philadelphia Indemnity as a result of issuing bonds

on behalf of Defendants, which damages are incapable of determination at this time;
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      3.     On Count Three, for preliminary and permanent injunctive relief requiring

Defendants to place Philadelphia Indemnity in funds by money or property, real or

personal, and restraining each of the Defendants from transferring, disposing or

otherwise liquidating any property owned by them beyond reasonable living expenses,

during the pendency of this matter until Philadelphia Indemnity has been placed in

funds as requested herein;

      4.     On Count Four, the declaration that Defendants are obligated under the

GIA to provide access to their books and records, to post collateral as demanded, and to

hold all proceeds from bonded contracts in trust.

      DATED this 6th day of December, 2017.

                                     JENNINGS HAUG & CUNNINGHAM, LLP



                                     /s/ Edward Rubacha____________
                                     Edward Rubacha
                                     Chad L. Schexnayder
                                     Attorneys for Plaintiff




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